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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW JERSEY


   IN RE: JOHNSON & JOHNSON
   TALCUM POWDER PRODUCTS                 Case No. 3:16-md-2738-MAS-RLS
   MARKETING, SALES PRACTICES
                                          MDL Case No. 2738
   AND PRODUCTS LIABILITY
   LITIGATION                             Motion Day: February 5, 2024




     DEFENDANTS JOHNSON & JOHNSON AND LTL MANAGEMENT
     LLC’S OPPOSITION TO PLAINTIFFS’ STEERING COMMITTEE’S
     MOTION TO QUASH OR FOR PROTECTIVE ORDER REGARDING
                SUBPOENA DIRECTED AT KCIC, LLC
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                                        INTRODUCTION1

         After billing 1,600 hours representing Johnson and Johnson and LTL

  Management LLC (collectively, “J&J”) in this litigation, James Conlan switched

  sides. He teamed up with J&J’s litigation adversary, Andy Birchfield and the

  Beasley Allen law firm, to push for a resolution of J&J’s talc liabilities through his

  newly founded company, Legacy Liability Solutions LLC, that was adverse to J&J.

  J&J Mot., Ex. 6 at 2. When pitching the proposal to the Company, Conlan

  represented that Legacy had the support of lead counsel in the MDL, “including

  Andy Birchfield” for an “MDL opt-in settlement matrix.” J&J Mot., Ex. 3 at 2. And

  just last week, counsel for Beasley Allen admitted in court that Conlan and

  Birchfield “did work together to come up with a strategy to try and resolve or settle

  disputes.” Decl. of Stephen D. Brody (“Brody Decl.”), Ex. 2 at 46:5-7 (emphasis

  added).

         These undisputed facts clearly demonstrate that Birchfield and Beasley Allen

  should be disqualified from this litigation.2 J&J served the discovery at issue here

  to assess whether the required relief should be broader—to determine whether other


  1
    As used in this memorandum, “J&J Motion” and “J&J Mot.” refers to its Motion for Order to
  Show Cause Why Andy Birchfield and Beasley Allen Should Not Be Disqualified From This
  Litigation or Removed From the Plaintiffs’ Steering Committee (ECF No. 28760), and “PSC Mot.”
  refers to the PSC’s Memorandum in Support of its Motion to Quash or for Protective Order (ECF
  No. 28912-1). Page citations to exhibits refer to the pagination as indicated at the top of each filed
  document.
  2
    The Court scheduled oral argument on J&J’s motion for February 7, 2024. See MDL Text Order,
  ECF No. 28860.
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  attorneys on the PSC are also in receipt of J&J’s confidences—and the full PSC’s

  invocation of non-specific privilege objections in response to that discovery suggests

  that the confidences have been compromised far beyond just the Beasley Allen firm.

  Specifically, J&J subpoenaed KCIC—a provider of “logistics, claims and litigation

  management services” that Conlan described as the “Strategic Logistics Partner” for

  the Conlan-Beasley plan, J&J Mot., Ex. 6, at 4—seeking certain documents and

  communications related to its involvement in that plan. PSC Mot., Ex. A. As

  relevant here, J&J sought from KCIC (1) documents relating to Legacy and (2)

  communications between KCIC and Legacy, Conlan, Birchfield, and/or Beasley

  Allen. Id. at 6.

         KCIC’s President contacted counsel for J&J on December 19, 2023—the day

  the subpoena was served—and asked that J&J extend the subpoena return date by a

  week, from January 5 to 12 so KCIC could produce documents. Brody Decl. ¶ 3–4.

  J&J agreed to KCIC’s request. Id. ¶ 4. Subsequently, on January 2, 2024, the MDL

  Plaintiffs’ Steering Committee (“PSC”) advised J&J that it had objections to the

  KCIC subpoena. PSC Mot., Ex. B at 6. J&J and the PSC conferred on January 4,

  but could not agree about the scope of the requests. Brody Decl. ¶ 5.3 The PSC also


  3
    KCIC did not produce any documents by the January 5 return date or the January 12 extended
  date. Brody Decl. ¶ 9. Instead, KCIC’s outside counsel submitted a four paragraph letter to J&J’s
  outside counsel (copying Beasley Allen), indicating she had received correspondence regarding
  the PSC’s objection to the production, and asserting “the rights and privacy of individuals whose
  private and medical information is contained within those requested records.” PSC Mot., Ex. C.
  When J&J and KCIC spoke on January 5, 2024, J&J represented it was not seeking any patient
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  contacted counsel for KCIC, because KCIC did not produce documents before the

  agreed upon January 12 subpoena return date, which was the date the PSC filed the

  instant motion to quash or for a protective order. ECF No. 28912.

         None of the PSC’s arguments have merit. The PSC’s assertion that the

  subpoena should be quashed because it calls for privileged information is

  substantially overbroad. PSC Mot. at 4–5. The PSC does not identify with any

  specificity the documents or communications that would fall within the privileges it

  asserts, and it is impossible to believe that every communication between KCIC and

  Conlan (or his company) is privileged—unless, of course, Conlan and Legacy are

  providing legal advice to the PSC, in which case the side-switching problem

  underlying the J&J Motion runs even deeper than initially appeared. The PSC also

  asserts that the subpoena calls for irrelevant information, id. at 6–7, but the

  information sought is obviously relevant to whether J&J can get a fair trial in this

  MDL.

         This Court should reject the PSC’s attempt to use discovery as both a sword

  and shield. The motion to quash or for a protective order should be denied.




  health information (private or not), and KCIC subsequently represented it had no documents
  relating to Legacy and Conlan’s settlement matrix. Brody Decl. ¶¶ 6–7; Ex. 1. Thus, the subpoena
  sought only KCIC’s documents relating to Legacy and communications between KCIC and
  Legacy, Conlan, Birchfield, and/or Beasley Allen.
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                                      ARGUMENT
        A.       The PSC’s Privilege Objections Are Unsubstantiated And
                 Overbroad

        J&J’s subpoena seeks documents relating to Legacy’s proposal to acquire

  J&J’s talc liabilities and communications relating to that proposal between KCIC

  and Legacy, Conlan, Birchfield, and/or Beasley Allen. The PSC moves to quash on

  the ground that the subpoena seeks privileged information. But that objection is

  substantially overbroad. The subpoena does not facially seek privileged information

  and the PSC has not carried its burden to identify privileged documents with

  specificity.

        The PSC argues the subpoena should be quashed in its entirety on privilege

  grounds, but it “cannot be said that every document is privileged.” V. Mane Fils,

  S.A. v. Int’l Flavors & Fragrances Inc., 2008 WL 3887621, at *4 (D.N.J. Aug. 20,

  2008). The PSC offers no basis to conclude that this subpoena exclusively seeks

  privileged information, especially where it requests, among other things,

  communications between KCIC, a settlement administrator, and Legacy and Conlan,

  third parties to this litigation.   Indeed, the PSC does not even claim that

  communications between KCIC and Legacy or Conlan are privileged. The PSC

  asserts only that privilege applies to “communications or information exchanged

  between counsel for members of the LTL Talc Claimants Committee and KCIC.”

  PSC Mot. at 4. That objection, wrong as it is, cannot justify the relief the PSC

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  seeks—namely, quashing the subpoena in its entirety—because the subpoena seeks

  documents and communications that the PSC does not claim are privileged.

        As for documents and communications between KCIC and Beasley Allen

  lawyers, the PSC has not followed “the appropriate procedure.” V. Mane Fils, S.A.,

  2008 WL 3887621, at *4. A party objecting on privilege grounds bears the “burden

  to demonstrate that compliance with the subpoena would … disclose privileged or

  confidential information.” Adesanya v. Novartis Pharms. Corp., 2015 WL 7574362,

  at *1 (D.N.J. Nov. 24, 2015); see also Dawson v. Ocean Twp., 2011 WL 890692, at

  *12 (D.N.J. Mar. 14, 2011) (explaining the “party resisting discovery has the burden

  of clarifying and explaining its objections to provide support therefor” (quotations

  omitted)). General objections will not do; particularity is required. The Third

  Circuit has expressly rejected “broadside invocation[s] of privilege” where they

  “fail[] to designate with particularity the specific documents ... to which [a] claim of

  privilege applie[s].” United States v. O'Neill, 619 F.2d 222, 225 (3d Cir. 1980)

  (executive privilege); accord Dawson, 2011 WL 890692, at *17; see also, e.g.,

  Occidental Chem. Corp. v. 21st Century Fox Am., Inc., 2022 WL 4466578, at *3–5

  (D.N.J. Sept. 26, 2022) (rejecting “broad assertion” of work-product, mediation, and

  other privileges in response to deposition notice because “courts are required to

  determine the applicability of a privilege on a communication-by-communication




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basis” and the special master “ha[d] not been presented with any specific

communications to consider”).

       Yet this is exactly what the PSC asserts—an overbroad application of

privilege without any attempt to identify with particularity the documents that are

potentially privileged. The PSC claims the subpoena seeks documents protected by

the mediation privilege, but it has not identified which documents those are and why

that privilege applies. PSC Mot. at 4–5. This “indiscriminate claim of privilege may

in itself be [a] sufficient reason to deny” the PSC’s Motion. O’Neill, 619 F.2d at

227.

       The proper procedure, moreover, is to “produce[] the non-privileged

documents and log[] the remainder on a privilege log.” V. Mane Fils, S.A., 2008

WL 3887621, at *4. Having failed to identify with particularity which documents

are privileged or produce a privilege log, the PSC’s request should be denied. Id.;

see also Weinstein v. Brisman, 2020 WL 1485960, at *7 (D.N.J. Mar. 26, 2020)

(rejecting assertion of privilege where the non-party did not describe the nature of

the documents with “sufficient specificity to allow [the] Court to rule on that

objection” and holding the non-party may only “assert privilege ... in conjunction

with the preparation of a sufficient privilege log”); Wei v. Bodner, 127 F.R.D. 91,

96 (D.N.J. 1989) (holding no substantive ruling on privilege assertions could be

made because the “mere assertion” of privilege “without a more complete

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description ... does not provide the Court with sufficient information to determine

whether the standards have been met” and noting such information is also “necessary

for the party seeking discovery to have a full and fair opportunity to oppose the

assertion of privilege.”); Dawson, 2011 WL 890692, at *23 (requiring the asserting

party to produce a privilege log that meets the requirements set forth in Wei); cf. Fed.

R. Civ. P. 45(e)(2)(A)(i)–(ii) (requiring person withholding subpoenaed information

under claim of privilege to “expressly make the claim” and “describe the nature of

the withheld” materials to “enable the parties to assess the claim”). 4

       Because the PSC has not identified with particularity which documents it

believes are privileged, J&J cannot meaningfully assess or respond to the privileges

the PSC asserts.         J&J notes, however, that the main privilege invoked—the

mediation privilege, PSC Mot. at 5—has (at best) tenuous application here. For one

thing, J&J has not been in mediation with talc claimants. And as even the PSC’s

cases recognize, whether a communication will be covered by the mediation

privilege “turns on” whether it has a “clear nexus to the mediation.” Sandoz, 2021




4
   The PSC’s own authority confirms this fact—while the court in Sandoz, Inc. v. United
Therapeutics Corp. later assessed the mediation privilege, see PSC Mot. at 5 (citing 2021 WL
5122069, at *2 (D.N.J. Nov. 2, 2021)), it first ordered the plaintiffs to prepare and serve a privilege
log “identifying the documents claimed to be protected from disclosure by the mediation
privilege,” 2021 WL 287872, at *3 (D.N.J. Jan. 28, 2021), because “more information [was]
required in order to determine whether the mediation privilege applie[d].” Id. at *2. The same is
true here.
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WL 5122069, at *2 (quotations omitted).5 This need for a “clear nexus” only further

illustrates why the PSC should follow “appropriate procedure” and produce a

privilege log to allow a document-by-document review of the purportedly privileged

documents. In any event, the mediation privilege does not “require the exclusion of

any evidence otherwise discoverable merely because it is presented in the course of

compromise negotiations,” and “document[s] which otherwise exist” or “existed

independent of the mediation” are “not subject to th[e] privilege.” N.J. Dep’t of

Env’t Prot. v. Am. Thermoplastics Corp., 2017 WL 498710, at *3 (D.N.J. Feb. 7,

2017) (quotations omitted). 6

       Finally, the PSC cites the “settlement privilege” under Fed. R. Evid. 408. The

PSC has not demonstrated that any—let alone all—of the potential documents and

communications between KCIC and Beasley Allen lawyers concerned settlement.

And regardless, Rule 408 provides only that “information regarding settlements and

negotiation is inadmissible if offered to prove liability for, invalidity of, or amount

of [a] claim.” PSC Mot. at 6 (quoting Higgenbotham v. City of Trenton, 2018 WL

10483122, at *2 (D.N.J. Aug. 14, 2018)). Rule 408 is about admissibility, and it



5
  The other case the PSC cites about a “mediation privilege” is even more off-base. In Napolitano
v. Corbishley, the court held that the mediation privilege barred a plaintiff from amending a
complaint to add allegations specifically about the mediation. 2021 WL 3486901, at *3 (D.N.J.
Aug. 9, 2021). That is not this case.
6
  The PSC also references “protected health information,” PSC Mot. at 5, but that objection is
moot. J&J made clear to KCIC that it is not seeking production of protected health information.
Brody Decl. ¶ 6.
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does not apply unless the settlement communication is used to prove or disprove

liability, which is not the purpose of discovery here. See Berardino v. Prestige

Mgmt. Servs., Inc., 2017 WL 9690965, at *5 (D.N.J. Dec. 8, 2017). J&J seeks these

documents solely to determine the extent to which its confidences have been

improperly shared and to protect the integrity of the proceedings before the Court.

      B.     The Documents Sought By The Subpoena Are Relevant And Do
             Not Impose An Undue Burden On KCIC

      The subpoena seeks documents—those relating to KCIC’s work for Legacy

and Conlan, and its communications with Legacy, Conlan, Birchfield, and/or

Beasley Allen—that are plainly relevant to whether these proceedings can fairly

proceed with J&J’s confidential information in the hands of its litigation adversaries.

J&J’s former lawyer has teamed up with its current litigation adversary, and J&J

seeks information that is likely to show the full extent to which its confidences have

been passed to the other side, beyond what is already known about Birchfield and

Beasley Allen. This information is relevant, and the Court is authorized to permit

discovery relevant to disqualification. See Nicholas v. Grapetree Shores, Inc., 2012

WL 7170433, at *1 (D.V.I. July 31, 2012) (“The Court finds that the documents

requested by the subpoenas at issue are relevant to the issues raised in Defendants’

motion to disqualify Plaintiff’s counsel and fall within the scope of proper

discovery.”); see also Doe v. Cabrera, 139 F. Supp. 3d 472, 476 (D.D.C. 2015)

(“[C]ourts have broad discretion to decide whether to grant formal discovery tailored
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to produce evidence for motions to disqualify counsel.”); United States v. Philip

Morris Inc., 312 F. Supp. 2d 27, 34 (D.D.C. 2004) (“The case law is clear that courts

have broad discretion to decide whether to grant any formal discovery in

disqualification proceedings and, if so, how much.”); cf. Cobell v. Norton, 237 F.

Supp. 2d 71, 101 n.26 (D.D.C. 2003) (explaining that discovery is appropriate to

gather “admissible evidence in support of a pending or contemplated motion for

disqualification” of presiding judge (quotations omitted)); Cheeves v. S. Clays, Inc.,

797 F. Supp. 1570, 1580 (M.D. Ga. 1992) (explaining “the discovery mechanisms

of the Federal Rules of Civil Procedures would be available in an appropriate case

to a party who contemplates filing a motion for disqualification of the presiding

judge” (footnote omitted)).

      The PSC also claims the subpoena is “unduly burdensome” because J&J

“cannot establish the relevance, importance, or admissibility of the requested

information.” PSC Mot. at 6. In other words, its burden argument turns on its

relevance argument. But the PSC does nothing to meaningfully substantiate its

objection—while the PSC asserts the information “relates to a third party’s proposal

in the LTL bankruptcy proceeding,” id., it ignores, as J&J has explained, that the

information sought by the subpoena is plainly relevant to the question of

disqualification and the extent to which its confidences were improperly shared. See

supra 9–10. Moreover, to the extent the subpoena would truly create any undue

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burden, KCIC, the actual recipient of the subpoena, may object and confer with J&J

as appropriate. The PSC’s conclusory assertions on this point have no merit.

                                CONCLUSION

      For the foregoing reasons, the PSC’s motion should be denied.



Dated: January 22, 2024               Respectfully submitted,

                                      /s/ Stephen D. Brody
                                      Stephen D. Brody
                                      O’MELVENY & MYERS LLP
                                      1625 Eye Street N.W.
                                      Washington, DC 20006
                                      Tel.: 202-383-5300
                                      sbrody@omm.com

                                      Susan M. Sharko
                                      FAEGRE DRINKER BIDDLE & REATH
                                      LLP
                                      600 Campus Drive
                                      Florham Park, NJ 07932
                                      Tel.: 973-549-7000
                                      susan.sharko@faegredrinker.com

                                      Attorneys for Johnson & Johnson and LTL
                                      Management LLC n/k/a LLT Management
                                      LLC




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